                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                          CASE NO. 3:07-CR-071-RJC-DCK

 UNITED STATES OF AMERICA,                            )
                                                      )
                                 Plaintiff,           )
                                                      )       ORDER
 vs.                                                  )
                                                      )
                                                      )
 TEMERIA DENISE ALEXANDER,                            )
                                                      )
                                 Defendant,           )
                                                      )
 and                                                  )
                                                      )
                                                      )
 WYNDHAM CAPITAL MORTGAGE INC.,                       )
                                                      )
                                 Garnishee.           )

                        ORDER OF CONTINUING GARNISHMENT

       THIS MATTER IS BEFORE THE COURT on the Answer of Wyndham Capital

Mortgage Inc., as the Garnishee. Judgment in the criminal case was filed on May 27, 2008

(Document No. 17). As part of that Judgment, the Defendant was ordered to pay an assessment

of $1,000.00 and restitution of $51,938.48 to the victims of the crime. Id.

       On October 5, 2021, the Court entered a Writ of Continuing Garnishment (“Writ”)

(Document No. 25) as to the Garnishee, Wyndham Capital Mortgage Inc. The Garnishee was

served with the Writ on October 9, 2021, and the Defendant was served with the Writ on October

21, 2021. The Garnishee filed an Answer on October 18, 2021 (Document No. 28) stating that at

the time of the service of the Writ, the Garnishee had in its custody, control or possession property

or funds owned by the Defendant, including non-exempt, disposable earnings. The Defendant did

not request a hearing, and the statutory time to do so has elapsed.




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       IT IS, THEREFORE, ORDERED that an Order of Continuing Garnishment is hereby

ENTERED in the amount of $36,528.62 computed through September 30, 2021. The Garnishee

will pay the United States up to the lesser of (1) twenty-five percent of the Defendant’s disposable

earnings which remain after all deductions required by law have been withheld, or (2) the amount

by which the Defendant’s disposable earnings for each week exceed 30 times the federal minimum

wage. See 15 U.S.C. § 1673(a). The Garnishee will continue payments until the debt to the

Plaintiff is paid in full, or until the Garnishee no longer has custody, possession or control of any

property belonging to the Defendant, or until further Order of this Court.

       Payments should be made payable to the United States Clerk of Court and mailed to:

                              Clerk of the United States District Court
                                       401 West Trade Street
                                  Charlotte, North Carolina 28202

       In order to ensure that each payment is credited properly, the following should be included

on each check: Court Number DNCW3:07CR71.

       IT IS FURTHER ORDERED that the Garnishee will advise this Court if the Defendant’s

employment is terminated at any time by the Garnishee or the Defendant.

       The Plaintiff will submit this debt to the Treasury for inclusion in the Treasury Offset

Program. Under this program, any federal payment the Defendant would normally receive may be

offset and applied to this debt.

       SO ORDERED.
                                        Signed: December 1, 2021




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